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Prob 12C                 UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                    PETITION FOR WARRANT OR SUMMONS FOR
                         OFFENDER UNDER SUPERVISION


Offender Name:                  Brandon Keith HARDIN

Docket Number:                  2:03CR00501-02

Offender Address:               Sacramento, California

Judicial Officer:               Honorable William B. Shubb
                                United States District Judge
                                Sacramento, California

Original Sentence Date:         03/03/2004

Original Offense:               18 USC 1708 - Possession of Stolen Mail
                                (CLASS D FELONY)

Original Sentence:              18 months Bureau of Prisons; 36 months supervised
                                release; $100 special assessment

Special Conditions:             Warrantless search; Financial disclosure; Correctional
                                treatment; Drug testing; $5 Co-payment

Type of Supervision:            Supervised Release

Supervision Commenced:          10/12/2005 (reimposed date)

Assistant U.S. Attorney:        Michael Beckwith     Telephone: (916) 554-2700

Defense Attorney:               Tim L. Zindel        Telephone: (916) 498-5700

Other Court Action:

08/03/2005:                     After the defendant was found in violation of his
                                supervised release for illicit drug use and failure to
                                participate in drug testing, the Court revoked his
                                supervised release and sentenced him to three months
                                Bureau of Prisons and 33 months supervised release.
                                In addition to his standard conditions of supervision and

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                            his previously ordered special conditions, the Court
                            ordered the defendant to reside in and successfully
                            complete a residential treatment program for three
                            months.

10/31/2005:                 A Petition was filed alleging the defendant’s failure to
                            complete a residential treatment program.

11/30/2005:                 The defendant admitted the charge as alleged in the
                            Petition filed on October 31, 2005. The Court was
                            advised the defendant had been trying to enroll in
                            another residential treatment program. The Court
                            continued the matter for two weeks.

12/14/2005:                 The defendant returned to court and advised that he
                            was on a waiting list for a residential program. The
                            Court was advised of the defendant’s continued drug
                            use and missed urinalysis. The defendant was
                            remanded pending placement in a residential treatment
                            program.

12/21/2005:                 The defendant was released pending placement in a
                            residential treatment program.

01/11/2006:                 The Court was advised the defendant failed another
                            residential treatment program and requested a
                            dispositional hearing for 01/18/2006.




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                              PETITIONING THE COURT


(X)   TO ISSUE A WARRANT


(X)   OTHER: To request the dispositional hearing set for January 18, 2006, be taken
      off the calendar and continued to a later date.

The probation officer alleges the offender has violated the following condition(s) of
supervision:


Charge Number       Nature of Violation


Charge 1:           NEW LAW VIOLATION

According to the Criminal Justice Information System, on January 14, 2006, the defendant
was arrested by the California Highway Patrol for violation of California Vehicle Section
20001(a) - Fleeing the Scene of an Accident; California Penal Code Sections 12022.7(a) -
Inflicting Great Bodily Injury While Committing/Attempting a Felony and 1203.2 - Re-arrest
of Probationer; and California Health and Safety Code Section 11377 - Possession of a
Controlled Substance.

The above is a violation of the standard condition that the defendant not commit another
federal, state, or local crime.


Justification: The defendant has committed a new law violation. The severity of the
offense is unknown other than the fact that injuries and drugs were involved. (The arrest
report was not available at the time of this dictation.) The defendant has continued to
demonstrate his disrespect for the law and the orders of the Court.

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Bail/Detention: The defendant is considered a danger to the community. He has
continued to involve himself with illegal drugs and previously reported that proceeds from
his criminal activities supported his drug habit. Further, it was reported the defendant
threatened another individual with a gun. The defendant’s wife’s two older children have
been cared for by their paternal grandparents. It was reported that on January 13, 2006,
at approximately 11:30 p.m., the defendant went to the grandparents’ house and
demanded that they release the two children to his custody. When the grandfather
refused, the defendant pointed a gun at his face.

The defendant is currently in custody on new charges. It is recommended the Court issue
a warrant, thus securing a detainer should the defendant be released from custody on the
local charges. Should the defendant remain in local custody and is subsequently
transferred to state custody, the warrant will be lodged as a detainer with custodial officials,
thus ensuring the defendant's appearance in federal court to answer the above allegations
once he completes his term of imprisonment in state custody.

It is further requested that the dispositional hearing set for January 18, 2006, be continued
to a later date. The circumstances of the new offense and the outcome of the pending
charges will impact our recommendation.




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I declare under penalty of perjury that the foregoing is true and correct.

EXECUTED ON:       January 17, 2006
                   Sacramento, California
                   KMM:jz

                               Respectfully submitted,

                                  /s/ Kris M. Miura

                                 KRIS M. MIURA
                          United States Probation Officer
                            Telephone: (916) 930-4305


REVIEWED BY:       /s/ Kyriacos M. Simonidis
                   KYRIACOS M. SIMONIDIS
                   Supervising United States Probation Officer




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RE:    Brandon K. HARDIN
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       PETITION FOR WARRANT OR SUMMONS
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THE COURT FINDS PROBABLE CAUSE AND ORDERS:

[x ]   The issuance of a warrant        [ ]    Bail set at $      [x]           No Bail

[x ]   Other:    The dispositional hearing set for January 18, 2006, be taken off the
       calendar and continued to a later date.


FURTHER PROCEEDINGS REGARDING CUSTODY:


[x ]   Initial appearance and detention hearing before Magistrate Judge.



Date: January 18, 2006




cc:    United States Probation
       Michael Beckwtih, Assistant United States Attorney
       United States Marshal


Attachment: Presentence Report (Sacramento only)




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                      STATEMENT OF EVIDENCE OF ALLEGED
                        SUPERVISED RELEASE VIOLATIONS


Honorable William B. Shubb
United States District Judge
Sacramento, California

                                          RE:    Brandon K. HARDIN
                                                 Docket Number: 2:02CR00501-02

Your Honor:

In addition to a copy of the Acknowledgment of Conditions of Probation or Supervised
Release and Receipt of Criminal Judgment and Judgment and Commitment Order,
the following evidence and/or testimony will be offered to support the probation officer's
allegation that the above-named releasee is in violation of the conditions of supervision as
stated on the attached Probation Form 12C - Petition for Warrant or Summons for Offender
Under Supervision.


Charge 1:     NEW LAW VIOLATION


              A.     Evidence:

                     At this time, the booking sheet obtained via the Criminal Justice
                     Information System. Once available, the California Highway Patrol
                     Report.


              B.     Witnesses:

                     California Highway Patrol Officer Hill.




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RE:   Brandon K. HARDIN
      Docket Number: 2:03CR00501-02
      STATEMENT OF EVIDENCE



                          Respectfully submitted,


                             /s/ Kris M. Miura


                             KRIS M. MIURA
                      United States Probation Officer

DATED:     January 17, 2006
           Sacramento, California
           KMM:jz


REVIEWED BY:     /s/ Kyriacos M. Simonidis
                 KYRIACOS M. SIMONIDIS
                 Supervising United States Probation Officer




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                   REVOCATION GUIDE - SUPERVISED RELEASE


Offender Name: Brandon K. HARDIN                        Docket Number: 2:03CR00501-02

Date of original offense: 11/07/2003

Original term of supervised release imposed: 3 years.

Highest grade of violation alleged:        B

Criminal History Category of offender:             VI

Chapter 7 range of imprisonment: 21 to 24 months.

Maximum term on revocation - 18 USC 3583(e)(3): (choose one below)

       Class A felony - 5 years (or stat max of years if longer).
       Class B felony - 3 years
X      Class C and/or D felony - 2 years
       Class E felony and misdemeanors: 1 year

Violation requires mandatory revocation: YES:               NO:    X .


                          MANDATORY REVOCATION ISSUES

Original offense committed after 09/13/94: Title 18 USC 3583 instructs that supervision
shall be revoked upon a finding of: 1) Possession of a controlled substance; 2) Possession
of a firearm; or, 3) Refusal to comply with mandatory drug testing. If the violation involves
the use of a controlled substance, the Court has the discretion to find that "use" constitutes
"possession."

Positive/Failed Drug Tests after 11/02/2002: Title 18 USC 3583(g) amended and
instructs that supervision be revoked for: Testing positive for illegal controlled substances
more than three times over the course of one year.

KMM:jz




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